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                                                     U.S. Department of Justice

                                                     Leah B. Foley
                                                     United States Attorney
                                                     District of Massachusetts


Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     July 11, 2025

Keith Halpern, Esq.
83 Atlantic Avenue
Boston, MA 02110

       Re:      United States v. Jessica M. Leslie
                Criminal No. 25-cr-10295-IT

Dear Attorney Halpern:

        The United States Attorney for the District of Massachusetts (the “U.S. Attorney”) and your
client, Jessica Leslie (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure (“Rule”) 11(c)(1)(C):

       1.       Change of Plea

        As soon as practicable, Defendant will waive Indictment and plead guilty to count one of
the Information: Criminal Contempt, in violation of 18 U.S.C. § 401(3). Defendant admits that
Defendant committed the crime specified in this count and is in fact guilty of it.

       2.       Penalties

       Defendant faces the following maximum penalties: incarceration for any term of years;
supervised release for five years; a fine of $250,000, unless incarceration is imposed; and a
mandatory special assessment of $100.

       3.       Rule 11(c)(1)(C) Plea

       In accordance with Rule 11(c)(1)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant’s plea for any other reason.

      Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw
Defendant’s guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,

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the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

       4.       Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 10:

                a) Defendant’s base offense level is 14 (USSG § 2J1.2; see §§ 2J1.1, 2X5.1); and

                b) Defendant’s offense level is decreased by 2, because Defendant has accepted
                   responsibility for Defendant’s crime (USSG § 3E1.1); and

                c) Defendant’s offense level is decreased by 2, because Defendant is a zero-point
                   offender (USSG § 4C1.1).

       Defendant understands that the Court is not required to follow this calculation. Defendant
also understands that the government will object to any reduction in Defendant’s sentence based
on acceptance of responsibility, and may be released from the parties’ agreed-upon disposition in
Paragraph 5 if: (a) at sentencing, Defendant (directly or through counsel) indicates that Defendant
does not fully accept responsibility for having engaged in the conduct underlying each of the
elements of the crime to which Defendant is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       5.       Agreed Disposition

       The parties agree on the following sentence:

                a) incarceration for one day, deemed served;

                b) no fine;

                c) 24 months of supervised release; and

                d) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                   of the Court by the date of sentencing.

       6.       Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case


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and that Defendant’s conviction or sentence should be overturned.

       Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
                   other proceeding, including in a separate civil lawsuit; and

                b) Defendant will not challenge Defendant’s sentence, including any court orders
                   related to forfeiture, restitution, fines or supervised release, on direct appeal or
                   in any other proceeding, including in a separate civil lawsuit.

        The U.S. Attorney agrees not to appeal the imposition of the sentence agreed to by the
parties in paragraph 5.

        Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence regardless
of whether Defendant later changes Defendant’s mind or finds new information that would have
led Defendant not to agree to give up these rights in the first place.

       Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

       7.       Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       8.       Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had


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entered any earlier written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       9.       Who is Bound by Plea Agreement

        This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       10.      Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

                                        *         *      *

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Anne Paruti.

                                                      Sincerely,

                                                      LEAH B. FOLEY
                                                      United States Attorney

                                             By:
                                                      WILLIAM F. ABELY
                                                      Chief, Criminal Division



                                                      ANNE PARUTI
                                                      Assistant U.S. Attorney




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